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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: October 02, 2021.

                                                             __________________________________
                                                                       TONY M. DAVIS
                                                             UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________

                            UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

  IN RE:                                          §
                                                  §
  ALLAN L. REAGAN,                                §           CASE NO. 20-11161-TMD
      Debtor                                      §           CHAPTER 11


                     AGREED ORDER REGARDING DEBTOR’S OBJECTION TO
                             CLAIM NO. 14 OF COMERICA BANK

           CAME ON FOR CONSIDERATION the Debtor’s Objection to Claim No. 14, as amended,

  filed by Comerica Bank (the “Claim”). As evidenced by the signature of counsel below, the parties

  have agreed upon a resolution of the objection. Accordingly, it is

           ORDERED that the Claim is allowed as a Class 3 general unsecured claim in the amount

  of $6,483,162.66.

                                                ###




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  AGREED:

  WALLER LANSDEN DORTCH & DAVIS, LLP


  By: /s/ Mark C. Taylor_____________________________
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  ATTORNEYS FOR COMERICA BANK




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